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 UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF NEW JERSEY
 -------------------------------------------------------------x
 ENDURANCE AMERICAN INSURANCE
 COMPANY

                                             Plaintiff,                Civil Case No.: 2:24-cv-03186

         v.
                                                                       VOLUNTARY DISMISSAL ORDER
                                                                       CLOSED

 QBE INSURANCE CORPORATION
 AND RODNEY BOYD

                                              Defendants.
 -------------------------------------------------------------x

         IT IS HEREBY STIPULATED AND AGREED, the above-entitled action is hereby

 discontinued in its entirety with prejudice as to Defendants QBE INSURANCE CORPORATION

 AND RODNEY BOYD pursuant to FCRP 41(a)(1)(A)(i).

 Dated: New York, New York
        June 17, 2024



  LONDON FISCHER LLP                                         QBE INSURANCE CORPORATION
                                                             Defendant
                                                             Not Answered in this Action
  By: /s/ Daniel W. London
  Daniel W. London                                           RODNEY BOYD
  Attorneys for Plaintiff                                    Defendant
  Endurance American Insurance Company                       Not Answered in this Action
  59 Maiden Lane, 39th Floor
  New York, New York 10038
  (212) 972-1000
  Our File No.: 400.0000002

  SO ORDERED: 6/19/2024
  s/Stanley R. Chesler, U. S. D. J.
